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October 25, 2023

Mr. Lyle W. Cayce
Clerk of the Court
United States Court of Appeals for the Fifth Circuit
F. Edward Hebert Building
600 S. Maestri Place, Suite 115
New Orleans, LA 70130-3408


       Re: Illumina, Inc. and Grail, Inc., Petitioners v. Federal Trade Commission,
       Respondent, No. 23-60167 (argued Sept. 12, 2023)

Dear Mr. Cayce:

This letter responds to the Court’s order of October 18, 2023 in the above-referenced appeal,
requesting letter briefing on the status of the proceedings before the European Commission (the
“EC”) and the impact, if any, of the EC’s October 12, 2023 order on this case.

The status of the appeal proceedings in Europe has not changed since the commencement of
Petitioners’ appeal before this Court. As summarized in Petitioners’ Brief in support of their
Motion to Expedite Appeal (Dkt. No. 5-1), Illumina has challenged the EC’s assertion of
jurisdiction to review the Transaction and has appealed the jurisdictional ruling of the first
instance court to the European Court of Justice. That appeal remains pending, as does
Illumina’s challenge of the EC’s prohibition decision before the European General Court.

The EC’s October 12th order has no impact on those proceedings or this case. The order is a
divestiture order only and is therefore similar to the order entered by the FTC that is subject to
the present appeal. The EC order is subject to judicial review and a possible suspension, and it
has no immediate effect in that the order does not require Illumina to divest Grail for at least
one year, and is contingent on the outcome of the pending jurisdictional appeal. Should the
Court of Justice agree with Illumina that the EC’s assertion of jurisdiction is unlawful, the
divestiture order will be extinguished, and the hold separate obligations imposed by the EC will
be lifted immediately. At present, a hearing on Illumina’s jurisdictional appeal is not yet
scheduled. If a hearing is scheduled for before the end of this year, Illumina anticipates a
decision by mid-2024.
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                                            Respectfully submitted,



                                            /s/ David R. Marriott




Cc: Counsel of record (via CM/ECF)




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